     Case 4:20-cv-05072-TOR            ECF No. 8    filed 08/21/20    PageID.30 Page 1 of 3




1
     Joseph A. Grube, WSBA# 26476
2    joe@bgotrial.com
     Karen Orehoski, WSBA #35855
3    karen@bgotrial.com
4    Breneman Grube Orehoski, PLLC
     1200 Fifth Avenue, Suite 625
5    Seattle, WA 98101
     Tel: 206.770.7606/ Fax: 206.770.7607
6    Attorneys for Plaintiff
7

8
9

10

11

12
                            IN THE UNITED STATES DISTRICT COURT
13                        FOR THE EASTERN DISTRICT OF WASHINGTON
                                     RICHLAND DIVISION
14
       SALVADOR PAZ-CORTES,
15
                                                             NO. 4:20-cv-05072-TOR
16                            Plaintiff,
                                                             PLAINTIFF’S RESPONSE TO
17
                 v.                                          ORDER TO SHOW CAUSE
18
       EDISON A. VALERIO,
19

20                            Defendant.

21

22
            1.        Plaintiff, through counsel, submits this statement in response to this Court’s
23
     August 18, 2020 Order to Show Cause (Docket No. 4) regarding service of process. Plaintiff’s
24

25   counsel declares and attests as follows:

26

27    PLAINTIFF’S RESPONSE TO
      ORDER TO SHOW CAUSE
28    PAGE 1 OF 3




31
     Case 4:20-cv-05072-TOR          ECF No. 8     filed 08/21/20       PageID.31 Page 2 of 3




1           2.      This case was filed on May 4, 2020.
2

3           3.      On May 13, 2020, pursuant to FRCP 4(d), Plaintiff’s counsel sent the following

4    documents to Defendant Edison Valerio via regular mail:
5

6                          a.   Notice of Lawsuit and Request for Waiver of Service;
                           b.   Waiver of the Service of Summons (2 copies);
7                          c.   Summons;
                           d.   Complaint; and a
8                          e.   Self-addressed stamped envelope;
9           4.      Pursuant to its express language, the Notice of Lawsuit and Request for Waiver
10
     of Service gives the Defendant thirty days to respond.
11
            5.      On June 8, 2020, counsel for Defendant (Brian Davis) contacted Plaintiff’s
12
     counsel and was requested to accept service of process on behalf of Defendant.
13

14          6.      On June 17, 2020 Mr. Davis informed Plaintiff’s counsel that he would accept

15   service on behalf of Defendant. On that same day Plaintiff’s counsel provided Mr. Davis with

16   a proposed Waiver of Service pursuant to FRCP 4(d).
17
            7.      Over the next two months, counsel for Plaintiff’s counsel and Defendant’s
18
     counsel exchanged numerous communications regarding the filing of the acceptance of service,
19
     including on: June 29, July 6, July 9, July 20, August 8, and August 18. During those
20
     communications, Defendant’s counsel never repudiated his agreement to accept service and
21

22   expressly stated that the filed acceptance would be forthcoming.

23          8.      On August 18, 2020 this Court entered an Order to Show Cause (Docket No. 4)
24   pursuant to FRCP 4(m).
25

26

27    PLAINTIFF’S RESPONSE TO
      ORDER TO SHOW CAUSE
28    PAGE 2 OF 3




31
     Case 4:20-cv-05072-TOR           ECF No. 8      filed 08/21/20     PageID.32 Page 3 of 3




            9.      On August 19, 2020, Defendant filed his Notice of Appearance (Docket No. 5)
1
     Acceptance of Service, (Docket No. 6), and Answer and Counterclaim (Docket No. 7).
2

3           10.     Although service was accepted by counsel (via email) within the time required

4    under FRCP 4, proof of service was not filed because a more formal acceptance was anticipated,
5    and Plaintiff’s counsel repeatedly followed up.
6
            11.     As a Notice of Appearance, Acceptance of Service, and Answer and
7
     Counterclaim have now been filed, the case is at issue. Good cause exists pursuant to FRCP 4
8
     to extend the time for filing the proof of service (or for service) pursuant to FRCP 4.
9

10          12.     Plaintiff respectfully requests that this Court deem this case at issue and find that

11   good cause has been demonstrated.

12          Respectfully submitted this 21st day of August 2020.
13                                  BRENEMAN GRUBE OREHOSKI, PLLC
14
                                    By: /s/ Joseph A. Grube
15                                  Joseph A. Grube, WSBA #26476
                                    Attorneys for Plaintiffs
16

17

18

19

20

21

22

23

24

25

26

27    PLAINTIFF’S RESPONSE TO
      ORDER TO SHOW CAUSE
28    PAGE 3 OF 3




31
